                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA                       :       Case No:
                                               :
               v.                              :
                                               :       VIOLATIONS:
                                               :
AARON JAMES MILEUR,                            :       18 U.S.C. § 1752(a)(1)
                                               :       (Restricted Building or Grounds)
               Defendant.                      :
                                               :       40 U.S.C. § 5104(e)(2)
                                               :       (Violent Entry or Disorderly Conduct)

                                              ORDER

       This matter having come before the Court pursuant to the application of the United States

to seal criminal complaint, the Court finds that, because of such reasonable grounds to believe

the disclosure will result in flight from prosecution, destruction of or tampering with evidence,

intimidation of potential witnesses, and serious jeopardy to the investigation, the United States

has established that a compelling governmental interest exists to justify the requested sealing.

       1.      IT IS THEREFORE ORDERED that the application is hereby GRANTED, and

that the affidavit in support of criminal complaint and other related materials, the instant

application to seal, and this Order are sealed until the arrest warrant is executed.

       2.      IT IS FURTHER ORDERED that the Clerk’s office shall delay any entry on the

public docket of the arrest warrant until it is executed.                 Digitally signed by
                                                                          G. Michael Harvey
                                                                          Date: 2021.03.09
Date: March 9, 2021                                    ___________________________________
                                                                          13:03:22 -05'00'
                                                       G. MICHAEL HARVEY
                                                       UNITED STATES MAGISTRATE JUDGE




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